IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

WALTER KRUPKA
96 Bergen Avenue
Jersey City, NJ 07305

Plaintiff, : Docket No.:
v. :

TF CORNERSTONE, INC.
387 Park Avenue South, 7" Floor :
New York, NY 10016 : JURY TRIAL DEMANDED
and :
ROSS GABEL
387 Park Avenue South, 7 Floor
New York, NY 10016
and
MARIO TODOROV
387 Park Avenue South, 7" Floor
New York, NY 10016
and
AMALIO BARETO
387 Park Avenue South, 7" Floor
New York, NY 10016

Defendants.

CIVIL ACTION COMPLAINT

Plaintiff, by and through his undersigned counsel, hereby avers as follows:

INTRODUCTION

1, This action has been initiated by Walter Krupka (hereinafter referred to as
“Plaintiff,” unless indicated otherwise) against TF Cornerstone, Inc. and three individuals outlined
below (hereinafter collectively referred to as “Defendants,” unless indicated otherwise) for
violations of Title VII of the Civil Rights Act of 1964 (“Title VII” — 42 U.S.C. §§ 2000e, e7. seq.),
the New York State Human Rights Law (“HRL” - N.Y. Exec. Law §§ 290 e¢. seq.), the New York

Labor Law, the New York City Human Rights Law, N.Y.C. Admin, Code (““NYCHRL”) and the
Americans with Disabilities Act (“ADA”). As a direct consequence of Defendants’ unlawful
actions, Plaintiff seeks damages as set forth herein.

JURISDICTION AND VENUE

2. This Court has original subject matter jurisdiction over the instant action pursuant
to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks
redress for violations of federal laws, Any state or city claims herein or included would be proper
under this Court’s ancillary or supplemental jurisdiction to hear state and city claims arising out
of the same common nucleus of operative facts as those set forth in Plaintiff's federal claims. There
would alternatively be complete diversity for jurisdiction under 28 U.S.C. § 1332,

3. This Court may properly maintain personal jurisdiction over Defendants because
their contacts with this state and this judicial district are sufficient for the exercise of jurisdiction
over Defendants to comply with traditional notions of fair play and substantial justice, satisfying
the standard set forth by the United States Supreme Court in International Shoe Co. v. Washington,
326 U.S. 310 (1945) and its progeny.

4, Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this District
because actions underlying this case occurred in this District and Defendants are deemed to reside

where they are subject to personal jurisdiction, rendering Defendants herein as well.

PARTIES
5, The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
6. Plaintiff is an adult male residing at the above-captioned address.
7. TF Comerstone, Inc. (hereinafter “Defendant Cornerstone”) acquires, develops,
constructs, and manages residential, commercial, and retail properties. It is a for-profit entity with
many locations throughout New York, but primarily operating from the above-captioned location.

8. Ross Gabel (hereinafter “Defendant Gabel”) was at all relevant times the Property
Manager of the building wherein Plaintiff was primarily employed, located at 606 West 57" Street,
New York, NY 10019.

9. Mario Todorov (hereinafter “Defendant Todorov”) was at all relevant times the
Building Manager of the building wherein Plaintiff was primarily employed, located at 606 West
57 Street, New York, NY 10019.

10. Amalio Barreto (hereinafter “Defendant Barreto”) was at all relevant times the
Assistant Property Manager of the building wherein Plaintiff was primarily employed, located at
606 West 57" Street, New York, NY 10019.

11. Atali times relevant herein, Defendants acted by and through their agents, servants,
and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendants.

FACTUAL BACKGROUND

12. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

13. Plaintiff was hired by Defendant Cornerstone effective on or about February 12,
2018; and in total, he was employed for approximately 6 months (until involuntary termination, as

outlined infra).
14. Plaintiff worked for Defendant Cornerstone as a Porter, Painter, and general laborer
during his approximate 6-month tenure. Plaintiff painted, performed trash removal, cleaned, did
maintenance, and a host of other labor-intensive or project-based work,

15. From hire and through most of Plaintiff's tenure with Defendant Cornerstone,
Plaintiff was physically placed to work within its location at 606 West 57" Street, New York, NY
10019. This building complex is known as “The Max.”

16. The reporting structure of Plaintiff's management was as follows:

(a) Plaintiff directly reported to Defendant Todorov, a Building Manager;

(b) Plaintiff indirectly reported to Defendant Barreto, an Assistant Property
Manager who oversaw Defendant Todorov; and

(c) Plaintiff indirectly reported to Defendant Gavel, a Property Manager who
oversaw Defendants Todorov and Barreto.

(A) Prior to complaining of sexual harassment and engaging in other legally-
protected activities, Plaintiff was not counseled or disciplined.

17. From hire in February through August of 2018 (a period of approximately 5.5
months), Plaintiff did not receive any discipline.

18. Plaintiff was generally recognized as a hard worker who completed tasks assigned
and/or within the scope of his job duties as expected.

19. Plaintiff was however, as discussed infra, promptly terminated shortly after making
complaints of sexual harassment and for engaging in other legaily-protected activities (which
Defendants have admitted in writing).

(B) Plaintiff_engaged in statutorily “protected activities” under state and
federal _law(s) to which Defendants have, in writing, admitted_to

terminating him for engaging.

20. Via e-mail, dated July 17, 2018, Plaintiff complained to Lisa Wahl (Vice President

of Human Resource), that he was “sexually assaulted by Handyman Alberto [Quiles].” In
particular, Plaintiff complained that: (a) while Plaintiff was bent over, “Alberto stood behind [him]
placing his crotch on [his] rear end” and “began gyrating his hips as if he was having sex with
[him];” (b) “Alberto has repeatedly touched [his] chest, squeezed [his] breast, and pinched [his
nipple];” and (c) that Alberto said “on numerous occasions” to him that his “eyes are bedroom
eyes and he would love to see [him] in the bedroom with him.” Plaintiff further outlined in this
July 17, 2018 e-mail other concerns of intimidation when he attempted to express concerns of
other harassment as well.

21. ‘Plaintiffs complaint to Wahl not only commonsensically known as “sexual
harassment,” it was also: (a) defined as “Sexual harassment” within Defendant Cornerstone’s own
handbook under the bullet point “Unwelcome sexual advance or conduct;” and (b) and made to
the exact person Plaintiff was directed to complain to within Defendant Cornerstone’s own
employment policies (suggesting reporting to “the Vice President of Human Resources).

22. Several days after reporting sexual harassment and intimidation, Plaintiff required
a medical leave of absence from on or about July 20, 2018 through on or about August 7, 2018 (a
period of approximately 2 weeks). Plaintiff provided Defendant Cornerstone with medical
documentation to support his hospitalization and medical treatment during this approximate 2-
week medical leave of absence. Plaintiff suffers from serious health complications at times,
including but not limited to Diabetes.

23. During Plaintiffs medical leave, by letter dated July 31, 2018 (from Defendant
Gabel), Plaintiff was threatened with employment consequences for him allegedly “violating
policies.” Defendants made no effort to engage in a meaningful interactive dialogue with Plaintiff

during his absence, despite Plaintiff being hospitalized and requiring serious medical treatment.
The threats of employment consequences by Gabel were due to Plaintiff being on a short medical
leave.

24. As of mid-August 2018, Plaintiff had reiterated concerns of his past sexual
harassment experience; and further, that: (a) another employee was called a “fucking Jew”
(amongst other religious / ethnic slurs) which offended Plaintiff (also Jewish) (b) Plaintiff was
being taunted by some coworkers as a result of being vocal for sexual harassment concerns; (d) he
smelled chemicals in his water bottle on multiple occasions; and (e) Plaintiff was experiencing
other forms of subtle or not-so-subtle mistreatment.

25. Plaintiffs concerns were very legitimate, as Defendants’ management hired and
retained dozens of laborers who were graphic, undereducated, used profane language, and were
generally very unprofessional. Defendants’ management dismissed concerns as raised by Plaintiff
or others because they didn’t care about employee concerns other than ensuring work was
completed. Indeed, they merely threatened discipline or termination when various concerns were
raised.

(C) Plaintiff was transferred by Defendants in mid-August 2018 to a different

building managed by Defendant Cornerstone, and_ Plaintiff worked
therein without discipline or issue.

26. By letter dated August 16, 2018, from Defendant Gabel, Plaintiff was informed that
he was being transferred by to 505 West 37" Street, New York, NY 10019. This letter further
confirmed: (a) Plaintiff’s job would not change; (b) Plaintiff's compensation would not change;
and (c) Plaintiff was to report to his new physical location on August 20, 2018.

27, Plaintiff was very happy to be transferred by Defendants, felt his concerns were

finally being addressed, and welcomed a new non-discriminatory and non-hostile work

environment).
28. Plaintiff worked in the new location for only less than a week; and while working
in this new location, Plaintiff had no problems, no complaints, and expected his prior concerns to
be alleviated on a going forward basis.

29. But as discussed infra, right after being transferred and despite Plaintiff having no
further concerns, he was then blindsided with a termination on August 24, 2018 wherein
Defendants expressly told him that his prior concerns were deemed unsubstantiated. Defendants
informed Plaintiff because of his allegations (all protected activities by state and federal law) were
not able to be substantiated (as to the concerns he raised within his prior location), he was being
terminated. Defendants thus admitted to terminating Plaintiff directly because of his protected
activities, both verbally and in writing.

(D) Plaintiff received a termination letter dated August 24, 2019 despite having
been transferred without further problems because Defendants perceived

his prior allegations of sexual harassment, amongst other concerns, to be
unsubstantiated.

30. By letter dated August 24, 2018, Plaintiff received a letter terminating his
employment, and the contents of the letter stated inter alia:
Dear Mr. Krupka,

I write to advise you of the results of our investigations into your
comments, as contained in the email complaint sent to Lisa Wahl. We
advised you that we were investigating and transferred you to another
location to give you a fresh environment.

Our investigation revealed that your allegations were unfounded,
credibly denied by other employees and at times, were actually false ...
You falsely reported comments and actions by your coworkers, each of
which we investigated. None were substantiated.

False reporting constitutes lying, coupled with your Cool Hand Luke
comments, establishes your willful misconduct and lack of
professionalism. Accordingly, your employment is terminated effective
immediately.
31. Plaintiff was terminated by Defendants Barretto, Gabel, and Todorov, and their
names were identified in the termination 8/24/18 correspondence provided to Plaintiff.

(E) Plaintiff engaged in nationally-established_and_ indisputable protected
activities.

32. Internal complaints of sexually offensive conduct or sexual harassment were made
by Plaintiff on numerous occasions in the days, weeks, and month leading up to his termination.
These are indisputably protected activities by state and federal law(s).'

33, Disclosing health conditions and taking a medical leave of absence are indisputably
protected activities under state and federal law(s).?

34, Plaintiffs offensive comments reported about his religion / race and towards Jews
was indisputably protected activity under state and federal law(s).3

35. These are merely examples of the protected activities are not intended to be an
exhaustive list, as it is further well established that a plaintiff who engaged in protected activities
and complained about harassment or retaliation on account of such protected activities has also

engaged in “protected activities” by complaining of unlawful retaliatory harassment.*

1 See e.g. Garcia v, College of Staten Island, 2015 U.S. Dist. LEXIS 193780 * 25 (E.D.N.Y. 2015) (easily concluding
that an employee engaged in “protected activity,” and explaining "making complaints to management” is legally
protected), citing, Matima v. Celli, 228 F.3d 68, 78-79 (2d Cir. 2000) (quoting Sumner v. U.S. Postal Serv., 899 F.2d
203, 209 (2d Cir. 1990).

2 It is well established that taking a medical leave of absence is a “protected activity.” See e.g. Guinup v. Petr-All
Petroleum Corp., 786 F. Supp. 2d 501, 514 (“taking medical leave is a protected activity”), Bernadotte v. New York
Hosp. Med. Ctr. of Queens, 2014 U.S, Dist. LEXIS 26115 * 26 (E.D.N. Y. 2014) (a plaintiff with diabetes engages in
state and federally protected activity by taking a medical leave of absence, also a recognized form of accommodation).

3 See e.g, Nidzon v. Konica Minolta Bus. Solutions, USA, Inc., 752 ¥. Supp. 2d 336, 333 (S.D.N.Y. 2010) (the
plaintiff's internal complaint to his management about an offensive comment towards Jews was protected activity
under state and federal law(s)).

4 Figueroa v. KK Sub If, LLC, 289 F. Supp. 3d 426 ** 18-19 (W.D.N.Y. 2018) (expressing concerns about retaliatory
harassment or a hostile work environment following prior protected activities is also protected activity).
(F) Defendants have already conceded in writing and to government agencies
that they terminated Plaintiff because of his protected activities, and
Defendants are deemed to have engaged in retaliation as a matter of law.

36. Defendants memorialized in their 8/24/18 termination letter to Plaintiff that
Plaintiff was terminated for the very complaints he made that were legally protected, including
specifying the sexual harassment concerns he made in the “email complaint sent to Lisa Wahl.”

37. Defendants again, through their legal counsel, memorialized that Plaintiff was
terminated because his allegations (of protected activities) were deemed unsubstantiated by
Defendants or lacking in credibility. This was in Defendants’ Position Statement filed with the
New York Division of Human Rights, which is clearly admissible as a legal admission by
Defendants.°

38. Plaintiff was directly terminated for engaging in protected activities, as already
legally admitted by Defendants (constituting per se retaliation).°

39, Defendants have alluded in their termination letter and Position Statement to the
New York Human Rights Division that they were within their right to terminate Plaintiff because
they disbelieved Plaintiff's protected complaints or thought they may have been false. If this per
se unlawful approach by Defendants were to be accepted, plaintiffs complaining about sexual

harassment or discrimination all over the United States could be instantly terminated because they

5 See e.g. Reaves v. Pa, State Police, 2013 U.S. Dist. LEXIS 137948, *7 (M.D.Pa, 2013) (outlining that it is well
established in Circuits that Position Statements of employers to agencies investigating discrimination are admissible
as admissions of a party in any litigation or for impeachment).

6 See e.g, Medlock v. Ortho Biotech, 164 F.3d 545, 550-551 (10 Cir. 1999) (affirming jury verdict and explaining
that termination letter by defendant to the plaintiff relied upon a reference to plaintiff's prior complaints of racial
discrimination, constituting direct evidence of retaliation, regardless of Defendant’s panoply of arguments that the
plaintiff allegedly acted erratically); McDonald v. Mt. Perry Foods, Inc., 2011 U.S. Dist. LEXIS 84598 * 44 GD,
Oh. 2011) (termination letter to the plaintiff relied upon his medical concerns expressed warranting automatic denial
of summary judgment as direct evidence of discrimination or retaliation).
could not prove their allegations beyond a reasonable doubt and would be forever chilled in
raising legally-protected concerns. Defendants have thus admitted to unlawful retaliation.’

(G) After receipt _of evidence by and before the New York Human Rights
Division, the state-wide agency determined there was “PROBABLE
CAUSE” to believe that Defendants engaged in unlawful retaliation
towards Plaintiff.

40.  Reiterating the exact same principles in the nearly identical case of Calhoun v. EPS
Corp. (see footnote 7 supra), the New York Division of Human Rights concluded there was

probable cause of retaliation in a 12-page reasoned opinion:®

7 In Calhoun v. EPS Corp., 36 F. Supp. 3d 1344, 1360-1362 (N.D. Ga. 2014), the Court addressed nearly an identical
set of facts as herein and granted summary judgment fo Plaintiff as a matter of law and explained in detail that any

such attempted jegal position by Defendant is per se illegal stating:

Calhoun engaged in protected participation when she filed the EEO complaint regardless of its
veracity or merit. By stating that it terminated her because she filed what it believed to be a false
complaint, EPS has admitted to retaliating against Calhoun for engaging in protected activity. EPS
may have believed that it could terminate Calhoun for filing a false complaint, and it may have
believed that Calhoun's complaint was false because she filed it with the Army, but it was wrong on
both counts. This is direct evidence of retaliation.

Book ok

But this is not the usual case. EPS has adduced no competing evidence; it sticks to its guns. It has
suggested no nonretaliatory reason for terminating Calhoun. It repeats, over and over, that it
terminated her because she filed what it considered to be a false EEO complaint. As explained, that
is not a nonretaliatory reason: filing an EEO complaint—even one that EPS considered to be
false—is protected activity.

* OK OK

EPS obliquely argues that it terminated Calhoun because she violated its policy against submitting
false reports to the government. In general, violation of a company policy provides a nonretaliatory
reason for termination. See Kragor, 702 F.3d at 1309. But Calhoun's alleged violation of the policy
and her protected activity were one in the same: filing the complaint with the Army EEO office.
EPS's reason is not nonretaliatory.

8 It is well established that administrative findings are admissible at trial. In Strauss v. Microsoft Corp., 1995 U.S.
Dist. LEXIS 7433 * 7 (S.D.N.Y. 1995), the Court explained:

The Supreme Court has held that prior administrative findings made with respect to an employment
discrimination claim are admissible under the exception to the hearsay rule pertaining to public
records and investigatory files. Chandler v. Roudebush, 425 U.S. 840, 863 n.39, 48 L. Ed. 2d 416,
96 S. Ct. 1949 (1976); Fed. R. Evid. 803(8)(C). Specifically, Rule 803(8)(C) applies "unless the
sources of information or other circumstances indicate lack of trustworthiness." Fed. R. Evid.
803(8)(C). As Strauss offers no evidence that the EEOC determination is untrustworthy, the Court
finds that the EEOC finding is admissible under Rule 803(8)(C).

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[Defendants] state that [Plaintiff] was not terminated simply for making
discrimination complaints but rather because the complaints were
concluded to be unfounded and “falsely reported.” However, the
inability to substantiate an individual’s discrimination complaints
does not in itself justify an employer’s action in retaliating against the
employee who complained.

41. In sum, Defendants have already admitted in writing to Plaintiff, to a state agency,
and publicly to illegally retaliating against Plaintiff. Defendants have conceded liability because
it is — point blank — impermissible to terminate an employee just because an employer doesn’t like
allegations or thinks the employee lacks sufficient proof of allegations.”

42. | Moreover, Plaintiff had no disciplinary history until complaining of protected
(statutory) concerns and being promptly terminated.

43. Not only have Defendants admitted to unlawful termination towards an employee
with no disciplinary history, they promptly terminated Plaintiff while he had already been
transferred wherein there was no existing concerns.

(H) Defendants attempted to fabricate a knowing false defense to the New
York Human Rights Division based upon Plaintiff supposedly having

union rights.

44, For Plaintiff's first 189 days of employment (from 2/12/18 — 8/19/19), Plaintiff
worked at a location for Defendants that was non-union.

45. Plaintiff was transferred to a new location following legally-protected complaints
on August 20, 2019, working for 3 days before being terminated on August 24, 2019 by his same

management wherein he was employed for the first 189 days.

° The overwhelming majority of employees who complain about discrimination in a workplace do so on assumptions,
speculative views, and feelings. No typical employee has iron-clad proof of discrimination, and virtually every alleged
discriminatory in a workplace downplays or denies employee concerns, Defendants have conclusively elected a
defense that is not legally tenable or viable and which is patently rejected across the United States.

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46. Defendants had the utter gall to claim in correspondence and legal filings in the
midst of state-agency proceedings against Defendants that Plaintiff was not allowed to sue for any
type of discrimination or retaliation because he was a union employee subject to a collective
bargaining agreement. This is also memorialized multiple times as a (false) defense in Defendants’
Position Statement to the New York Human Rights Division. But:

(a) Defendants already intended to terminate Plaintiff before transferring him to a
union location;

(b) Defendants only attempted to transfer Plaintiff to concoct a technical defense
that is non-existent;

(c) Even if Plaintiff were part of a union, that would not prevent Plaintiff from
proceeding under state and federal anti-discrimination or anti-retaliation laws
(as they do not supersede ant-discrimination protections or venues); and

(d) Plaintiff never became a part of a union in August 2018, as: (1) he was not
provided with any union documentation; (2) never paid a union due; (3) would
have had to be employed for a threshold period of time to even be considered
for position union admission; (4) would have had to consent to same; and (5)
was offered no union recourse post-termination as he was in all respects never
once deemed part of a union.

47, Defendants have orchestrated Plaintiff's false termination and they had the gall to
terminate Plaintiff for lack of proof of his underlying legally-protected concerns, which is per se
unlawful. All Defendants herein are liable individually and/or collectively for the aforesaid
unlawful actions towards Plaintiff.

Count I
Violations of Title VII of the Civil Rights Act of 1964 (“Title VII”)

[1] Retaliation; [2] Hostile Work Environment
- Against Defendant Cornerstone Only -

48, The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

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49. Plaintiff was subject to two separate adverse actions: (1) a hostile work
environment and retaliatory hostile work environment; and (2) a termination.
50. These adverse actions taken against Plaintiff on account of his sex and/or
complaints of sexual harassment constitute violations of Title VIL.
Count I
Violations of Title VII of the Civil Rights Act of 1964 (“Title VII”)

Retaliation for race / religious concerns
- Against Defendant Cornerstone Only -

51. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
52. Plaintiff was subject to two separate adverse actions: (1) a hostile work

environment and retaliatory hostile work environment; and (2) a termination.

53.  Plaintiffis a Jewish male. Being Jewish is a religion, ethnicity, and race (as a matter
of law).!°
54, These adverse actions taken against Plaintiff on account of his race and/or religious

complaints of discrimination constitute violations of Title VII.

Count ITT
Violations of 42 U.S.C. § 1981
Retaliation for racial / ancestral concerns
- Against All Defendants -

55. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full,
56. Plaintiff was subject to two separate adverse actions: (1) a hostile work

environment and retaliatory hostile work environment; and (2) a termination.

10 Further explanation that Judaism constitutes a race and ethnicity (in addition to a religion), is provided in Plaintiff's
Count under 42 U.S.C. § 1981 (Count IID.

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57. The specific race and ethnicity of Plaintiff includes being Jewish."

58. These adverse actions taken against Plaintiff on account of his complaints of

discrimination constitute violations of 42 U.S.C. § 1981.

Count IV
Violations of the Americans with Disabilities Act (“ADA”)
[1] Discrimination; [2] Retaliation; and [3] Hostile Work Environment
- Against Defendant Cornerstone Only -

59. The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full,

60. Plaintiff suffered the foregoing referenced adverse actions because: (a) of his actual
or perceived health problems; (b) his requested accommodation(s), time off from work, and (c) for

expressing opposition to harassment on account of his protected activities.
61. These actions as aforesaid constitute violations of the ADA.

Count V
Violations of the New York State Human Rights Law (““HRL”)
[1] Retaliation; [2] Discrimination; and [3] Hostile Work Environment
- Against All Defendants -

62. The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

See e.g. Smith v. Specialty Pool Contractors, 2008 WL 4410163, at *4 (W.D.Pa. 2008) (in accordance with Supreme
Court jurisprudence, “persons of Jewish ancestry are a distinct race and, therefore, within the protection of 42 U.S.C.
§ 1981,” citing, St. Francis College v. Al-Khazraji, 481 U.S. 604, 611-13 (1987)).” See also Isakov v. HASC Ctr,, Inc.,
2018 U.S. Dist. LEXIS 31624 * 13 (E.D.N.Y, 2018) (the Second Circuit has already concluded that being Jewish isa

race under Supreme Court jurisprudence).

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63. Plaintiff incorporates all prior Counts into claims asserted under the HRL herein,
as the HRL is a single state statute prohibiting all actions taken against Plaintiff as set forth in this
Complaint and each prior Count.

64. The retaliation, hostile work environment, and termination Plaintiff experienced
because of his racial, religious, sexual harassment, and medical matters / complaints all constitute
violations of the HRL.

Count VI
Violations of the New York City Human Rights Law (“NYCHRL”)

[1] Retaliation; [2] Discrimination; and [3] Hostile Work Environment
- Against All Defendants —

65. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

66. Plaintiff incorporates all prior Counts into claims asserted under the NYCHRL
herein, as the NYCHRL is a single city statute prohibiting all actions taken against Plaintiff as set
forth in this Complaint and each prior Count.

67. The retaliation, hostile work environment, and termination Plaintiff experienced
because of his racial, religious, sexual harassment, and medical matters / complaints all constitute
violations of the NYCHRL

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay increases,
bonuses, insurance, benefits, training, promotions, reinstatement, and seniority.

B. Plaintiff is to be awarded liquidated, punitive damages or other penalty-related

damages, as permitted by applicable laws, in an amount believed by the Court or trier of fact to be

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appropriate to punish Defendants for their willful, deliberate, malicious and outrageous conduct
and to deter Defendants or other employers from engaging in such misconduct in the future;

C. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appropriate (including but not limited to damages for emotional distress / pain and
suffering);

D. Plaintiff is to be awarded the costs and expenses of this action and reasonable
attorney’s fees as provided by applicable federal and state law.

E. Plaintiff is to receive a trial by jury as requested in the caption of this Complaint.

Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C,

By:  /s/ Adam C. Lease
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Dated: December 18, 2019

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